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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              VALDOSTA DIVISION

YANIRA YESENIA OLDAKER et. al.,                :
                                               :
              Plaintiffs,                      :
                                               :
       v.                                      :       CASE NO: 7:20-CV-224 (WLS)
                                               :
THOMAS P. GILES, et al.
                                               :
                                               :
           Defendants.
                                               :
___________________________________

                                          ORDER
       On April 4, 2024, the court ordered the Parties to notify the Court in writing of any
matter filed under seal and/or otherwise restricted from public access that should remain
sealed and/or restricted.” (Doc. 364). Instead, on May 1, 2024, Defendant United States of
America (“Defendant”), asked the Court to grant them thirty (30) days additional time to
“properly evaluate the affected filings, apply redactions, and file a motion to replace those
documents on the docket before the court lifts the public access restriction.”
       For good cause shown, the Court hereby EXTENDS the deadline for Defendant to
respond to the Court’s Order for thirty (30) days. The Defendant’s Response is therefore due
later than Monday, June 3, 2024.
       SO ORDERED, this 2nd day of May 2024.


                                           /s/ W. Louis Sands
                                           W. LOUIS SANDS, SR. JUDGE
                                           UNITED STATES DISTRICT COURT




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